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                                                              May 24, 2024

By PACER ECF

Honorable Jennifer E. Willis
United States Magistrate Judge
Southern District of New York
40 Foley Square, Room 425
New York, New York 10007

                     Re:        Trisura v. Bighorn Construction and Reclamation, LLC, et al.
                                USDC SDNY Case No.: 1:23-cv-11053-GHW-JW

Dear Honorable Madam:

        We represent Plaintiff, Trisura Insurance Company (“Trisura”). We write to advise the
Court, consistent with the representation made during the conference, that Trisura requests that the
Court hold our fee application in abeyance since we resolved the amount of fees with Defendants’
counsel, subject to our receipt of payment. Once payment is received, we will withdraw the
application.

                                                             Respectfully submitted,

                                                             MCELROY, DEUTSCH, MULVANEY & CARPENTER LLP
                                                             Attorneys for Plaintiff

                                                             By:    /s/ Adam R. Schwartz
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cc: Counsel for Defendants via PACER ECF




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